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 Defendants Cipla Limited and
 Cipla USA, Inc.

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  FENNEC PHARMACEUTICALS, INC. and                   No. 2:23-cv-00123-MCA-MAH
  OREGON HEALTH AND SCIENCE
  UNIVERSITY,                                        Hon. Madeline Cox Arleo, U.S.D.J.
                                                     Hon. Michael A. Hammer, U.S.M.J.
              Plaintiffs,
                  v.                                          ORDER ADMITTING
                                                        ANIL H. PATEL, HAROLD STOREY,
                                                          JENNA BRUCE, AND ADAM S.
  CIPLA LIMITED and CIPLA USA, INC.,
                                                             BERLIN PRO HAC VICE
                Defendants.

                                                             Document Filed Electronically



        THIS MATTER, having been brought before the Court upon the application of K&L

 Gates LLP, counsel for Defendants Cipla Limited and Cipla USA, Inc., in the above-captioned

 matter, for admission pro hac vice of Anil H. Patel, Harold Storey, Esq., Jenna Bruce, Esq., and

 Adam S. Berlin, Esq., counsel for all parties having consented to the admission pro hac vice of

 Attorneys Patel, Storey, Bruce, and Berlin, and upon good cause appearing;

        IT IS, on this        day of                , 2023, hereby

        ORDERED that the application is granted, and Anil H. Patel, Esq., Harold Storey, Esq.,

 Jenna Bruce, Esq., and Adam S. Berlin, Esq., are hereby admitted to practice pro hac vice before




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 this Court, for all purposes and in all proceedings connected with this litigation, pursuant to Local

 Civil Rule 101.1(c) and it is further

        ORDERED that all pleadings, briefs, and other papers filed with the Court shall be signed

 by a partner or associate with the law firm of K&L Gates LLP, attorneys of record for Cipla

 Limited and Cipla USA, Inc. who is admitted to the Bar of this Court and shall be held responsible

 for said papers and for the conduct of the case and who will be held responsible for the conduct of

 the attorney admitted hereby; and it is further

        ORDERED that Anil H. Patel, Esq., Harold Storey, Esq., Jenna Bruce, Esq., and Adam S.

 Berlin, Esq., shall each make payment to the New Jersey Lawyers’ Fund for Client Protection as

 provided in New Jersey Court Rule 1:28-2(a), and it is further

        ORDERED that Anil H. Patel, Esq., Harold Storey, Esq., Jenna Bruce, Esq., and Adam S.

 Berlin, Esq., pursuant to Local Civil Rule 101.1(c)(3), shall each make a payment of $150.00 to

 the Clerk of the Court; and it is further

        ORDERED that Anil H. Patel, Esq., Harold Storey, Esq., Jenna Bruce, Esq., and Adam S.

 Berlin, Esq., shall be bound by the Rules of the United States District Court for the District of New

 Jersey, including, but not limited to the provisions of Local Civil Rule 103.1, Judicial Ethics and

 Professional Responsibility, and Local Civil Rule 104.1, Discipline of Attorneys; and it is further

        ORDERED that the Clerk of this Court shall forward a copy of this Order to the Treasurer

 of the New Jersey Lawyers’ Fund for Client Protection.


                                                               Hon. Michael A. Hammer, U.S.M.J.




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